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     BRIAN M. BOYNTON
 1
     Principal Deputy Assistant Attorney General
 2   WILLIAM C. PEACHEY
     Director
 3   EREZ REUVENI
     Assistant Director
 4
     Office of Immigration Litigation
 5   U.S. Department of Justice, Civil Division
     P.O. Box 868, Ben Franklin Station
 6   Washington, DC 20044
 7   Tel: (202) 307-4293
     Email: Erez.R.Reuveni@usdoj.gov
 8   PATRICK GLEN
     CHRISTINA GREER
 9   Senior Litigation Counsel
10
11                                    UNITED STATES DISTRICT COURT
                                FOR THE NORTHERN DISTRICT OF CALIFORNIA
12                                         OAKLAND DIVISION
13
14                                                     No. 4:18-cv-06810-JST
      East Bay Sanctuary Covenant, et al.,
15                                                     [PROPOSED] ORDER
                                    Plaintiffs,
16
                 v.
17
18    Joseph R. Biden, et al.,

19                                  Defendants.
20
21
22
23             Having considered the parties’ motions for summary judgment, IT IS HEREBY

24   ORDERED that DEFENDANTS’ motion is granted.

25
26             IT IS SO ORDERED.

27
     Dated: _____________________                    ______________________
28                                                   United States District Judge


     PROPOSED ORDER
     East Bay Sanctuary v. Biden,
     Case No. 4:18-cv-06810-JST
     Case 4:18-cv-06810-JST Document 176-3 Filed 06/16/23 Page 2 of 2




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